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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: PHILIPS RECALLED CPAP, BI-               Master Docket: Misc. No. 21-1230
LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LITIGATION                  MDL No. 3014

This Document Relates to: All Actions


   JOINT PROPOSED AGENDA FOR THE MAY 19, 2022 STATUS CONFERENCE

      1.     Discovery Plan Update with Discovery Special Master Carole Katz.

      2.     Science Tutorial Scheduling (September 1 for Both MDLs Combined).

      3.     Settlement Special Master Appointment Order.

      4.     Scheduling Order for Filing of Consolidated/Master Complaints and Rule 12
             Briefing.

      5.     Order Appointing Discovery Liaison Counsel to SoClean MDL.

      6.     Preservation Orders, including Trilogy Update.

      7.     Potential Amendment to Confidentiality Protective Order.

      8.     In Extremis Deposition Protocol.

      9.     Consideration of In-Chamber Conferences Coordinated with Status Conferences.

      10.    Update on Burnett Defendants.

      11.    Update on status of remediation and FDA 518(b) Notice.

DATED: May 17, 2022                             Respectfully submitted,

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                               CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the foregoing document was filed via the

Court’s CM/ECF system on this 17th day of May 2022 and is available for download by all counsel

of record.

                                            /s/ D. Aaron Rihn
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